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                                           UNITED STATES DISTRICT COURT
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                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
           17
                                                    OAKLAND DIVISION
           18

           19    EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR

           20                          Plaintiff, Counter-   DEFENDANT APPLE INC.’S
                                       defendant             ADMINISTRATIVE MOTION TO SEAL
           21                                                OBJECTIONS TO EXPERT TESTIMONY
                       v.
           22
                 APPLE INC.,
           23
                                       Defendant,
           24                          Counterclaimant.

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           26

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           28

Gibson, Dunn &
Crutcher LLP     DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL OBJECTIONS TO EXPERT TESTIMONY,
                                                    4:20-cv-05640-YGR
                       Case 4:20-cv-05640-YGR Document 517 Filed 04/28/21 Page 2 of 2


            1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Defendant Apple Inc.
            2    (“Apple”) moves the Court to seal select portions of its Objections to Expert Testimony and supporting
            3    exhibits. Certain statements in Apple’s Objections to Expert Testimony and the supporting exhibits
            4    have been designated by Epic Games, Inc. (“Epic”) as “HIGHLY CONFIDENTIAL – ATTORNEYS’
            5    EYES ONLY.” Although Apple does not believe the information is sealable, Apple is filing this
            6    provisional motion to seal to give Epic an opportunity to support the sealing of the statements.
            7    Unredacted, highlighted versions of the documents are attached hereto.
            8           When a party seeks to seal records for use at trial, there is a “strong presumption in favor of
            9    access” that can be overcome only by “compelling reasons.” Kamakana v. City & County of Honolulu,
           10    447 F.3d 1172, 1178 (9th Cir. 2006) (quotation marks omitted). The party seeking to seal the document
           11    or proceedings must “articulate compelling reasons supported by specific factual findings that outweigh
           12    the general history of access and the public policies favoring disclosure.” Id. at 1178–79 (alteration,
           13    citation, and quotation marks omitted). “In general, ‘compelling reasons’ sufficient to outweigh the
           14    public’s interest in disclosure and justify sealing court records exist when such ‘court files might have
           15    become a vehicle for improper purposes,’ such as the use of records to gratify private spite, promote
           16    public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179 (quoting Nixon v.
           17    Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).
           18           This motion is filed pursuant to Local Rule 79-5(e), Epic has designated the information
           19    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Apple is filing this provisional motion
           20    to seal to permit Epic the opportunity to file a declaration in support of sealing the document, should it
           21    choose to do so.
           22

           23    Dated: April 28, 2021                         Respectfully submitted,
           24                                                  GIBSON, DUNN & CRUTCHER LLP
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           26                                                  By:       /s/ Mark A. Perry
                                                                         Mark A. Perry
           27

           28                                                  Attorney for Defendant Apple Inc.

Gibson, Dunn &                                                       1
Crutcher LLP
                  DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL OBJECTIONS TO EXPERT TESTIMONY,
                                                    4:20-CV-05640-YGR
